Case 3:08-cr-30170-DRH-CJP      Document 556    Filed 04/10/12   Page 1 of 1   Page
                                    ID #1622


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

                          Plaintiff,

              vs.                           CRIMINAL NO. 08-CR-30170-DRH

MARK CLARKE, and
DAVID CLARKE,


                          Defendants.


                                       ORDER

      On Motion of the United States of America (Doc. 555), and for good cause

shown, Defendants Mark Clarke and David Clarke are dismissed from the Third

Superseding Indictment without prejudice and their subsequent arrest warrants shall

be quashed.                                                      Digitally signed by
                                                                 David R. Herndon
      SO ORDERED.
                                                                 Date: 2012.04.10
                                                                 10:29:17 -05'00'
                                                   Chief Judge
                                                   United States District Court
Dated: April 10, 2012
